
ORDER DENYING REVIEW
A Petition for Review was timely filed herein by Appellant Kristen Buckles on May 11, 2015. Appellant seeks review of a Tribal Trial Court decision, following remand from this Court, ruling that the Tribal Trial Court does not have jurisdiction over child custody matters concerning her children. The Petition for Review is denied in accordance with the following.
Title II Section 202, Fort Peck Tribes Comprehensive Code Of Justice provides in relevant part: “The Court of Appeals shall re-view de novo all determinations of the Tribal Court on matters of law, but shall not set aside any factual determinations of the Tribal Court if such determinations are supported by substantial evidence.” We find no basis for review of this matter. Therefore,
IT IS HEREBY ORDERED that the Petition for Review is denied.
